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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                                 4:16CR3081
      vs.
                                                                    ORDER
ISAIAH D. BROWN,
                      Defendant.


      Defendant has moved to continue the trial currently set for December 27, 2016.
(Filing No. 41). As explained in the motion, Defendant needs additional time to
investigate this case and prepare for trial. The motion to continue is unopposed. Based on
the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)       Defendant’s motion to continue, (Filing No. 41), is granted.

      2)       Trial of this case is set to commence before the Honorable John M.
               Gerrard, United States District Judge, in Courtroom 1, United States
               Courthouse, Lincoln, Nebraska, at 9:00 a.m. on February 13, 2017, or as
               soon thereafter as the case may be called, for a duration of four (4) trial
               days. Jury selection will be held at commencement of trial.

      3)       Based upon the showing set forth in Defendant’s motion and the
               representations of counsel, the Court further finds that the ends of justice
               will be served by continuing the trial; and that the purposes served by
               continuing the trial date in this case outweigh the interest of the defendant
               and the public in a speedy trial. Accordingly, the additional time arising as
               a result of the granting of the motion, the time between today’s date and
               February 13, 2017, shall be deemed excludable time in any computation of
               time under the requirements of the Speedy Trial Act, because although
               counsel have been duly diligent, additional time is needed to adequately
               prepare this case for trial and failing to grant additional time might result in
               a miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7). Failing to timely
               object to this order as provided under the court’s local rules will be deemed
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          a waiver of any right to later claim the time should not have been excluded
          under the Speedy Trial Act.

    December 20, 2016.
                                            BY THE COURT:
                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge




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